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 6                         IN THE UNITED STATES DISTRICT COURT
 7                                FOR THE DISTRICT OF ARIZONA
 8                                              )    No. CV-22-01661-PHX-SPL
      State of Arizona, et al.,
 9                                              )
                                                )
                      Plaintiffs,               )    PRELIMINARY ORDER
10                                              )
      vs.
11                                              )
                                                )
      Joseph R. Biden, Jr., et al.,             )
12                                              )
13                    Defendants.               )
                                                )
14                                              )

15          This matter having recently come before this Court, the parties are advised of the

16   following preliminary policies and procedures that will govern these proceedings, and are

17   ordered as follows.

18                                        Governing Rules

19          Both counsel and pro se litigants must abide by the Local Rules of Civil Procedure

20   (“LRCiv” or “Local Rules”), Rules of Practice of the U.S. District Court for the District of
21   Arizona, and the Federal Rules of Civil Procedure.

22                                       Service of Process
23          Rule 4 of the Federal Rules of Civil Procedure requires that service of the summons

24   and complaint must be accomplished on each defendant within ninety (90) days of the date

25   of the filing of a complaint. Proof of service must be promptly filed with the Clerk of Court

26   pursuant to Rule 4(l).
27          If, for good reason, Plaintiff(s) cannot serve the summons and complaint on

28   Defendant(s) within ninety (90) days, a request for an extension of time in which to serve
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 1   the summons and complaint may be filed with the Clerk of Court prior to the expiration of
 2   the 90-day period. Any request must set forth the reason why service has not been
 3   accomplished and request a specific short period of time in which to accomplish such
 4   service.
 5          As will be repeated throughout the duration of this case, the Court has a strict policy
 6   not to extend the dispositive motion deadline beyond the two-year anniversary of the
 7   commencement of a case. Therefore, Plaintiff(s) are encouraged to expeditiously complete
 8   service and to avoid unnecessary delay so that the pretrial period may be preserved for
 9   discovery and motion practice.
10          Notice is hereby provided that any Defendant that has not been timely served will
11   be dismissed without prejudice from this action without further order pursuant to Rule 4(m)
12   of the Federal Rules of Civil Procedure.
13                                Case Management Conference
14          The Court will schedule a case management conference in accordance with Rule 16
15   of the Federal Rules of Civil Procedure once Defendant(s) have been served or have
16   appeared in the action. As will be directed in the order setting the conference, the parties
17   will be required to engage in a Rule 26(f) meeting and submit a Joint Rule 26(f) Case
18   Management Report and a Joint Proposed Rule 16 Case Management Order. Outstanding
19   motions or requests to continue the Case Management Conference will not excuse the
20   requirement to hold a Rule 26(f) meeting or submit the joint filings.
21          The Court will issue a Case Management Order following the date of the scheduled
22   conference. The Order will reflect the parties’ input and the Court’s considered assessment
23   of the time necessary to complete discovery and all pretrial submissions, and will set forth
24   additional policies and procedures that will apply in this case.
25                                        Rule 12 Motions
26          Any motion made pursuant to Federal Rule of Civil Procedure 12 is discouraged if
27   the challenged defect in the pleading can be cured by filing an amended pleading. In
28   accordance with LRCiv 12.1(c), the Court therefore requires: (1) conferral – the movant


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 1   must confer with the opposing party prior to filing a motion to dismiss for failure to state
 2   a claim or counterclaim pursuant to Rule 12(b)(6), or a motion for judgment on the
 3   pleadings on a claim or counterclaim pursuant to Rule 12(c), to determine whether such
 4   motion can be avoided; and (2) certification – the movant must attach a certificate of
 5   conferral, certifying that it notified the opposing party of the issues asserted in its motion
 6   (in person, by telephone, or in writing), and that the parties conferred but were unable to
 7   agree that the pleading was curable in any part by a permissible amendment offered by the
 8   pleading party. Any motion lacking an attached compliant certificate may be summarily
 9   stricken by the Court.
10                                  Amendments to the Pleadings
11          Parties shall endeavor not to oppose motions to amend that are filed prior to any
12   Rule 16 Case Management Conference or the deadline set forth by any Rule 16 Case
13   Management Order. Any motion for leave to amend or notice of amendment must be filed
14   in accordance with Rule 15.1 of the Local Rules of Civil Procedure. Any motion or notice
15   that does not comply with the local and federal rules may be stricken by the Court.
16                                        Protective Orders
17          As a general practice, this Court does not approve or adopt blanket, umbrella
18   protective orders or confidentiality agreements, even when stipulated to by the parties.
19   Further, the fact that the parties have designated materials or information as confidential
20   pursuant to an agreement or stipulation does not mean that the Court will order that the
21   filings containing such information be placed under seal. In the event discovery mandates
22   disclosure of specific, harmful, confidential material, the Court will entertain a request for
23   a protective order at that time if it is tailored to protect the particular interests at hand in
24   accordance with Rule 26(c) of the Federal Rules of Civil Procedure. Any party wishing to
25   seal a record or document and shield it from public view must prove why the interest in
26   secrecy outweighs the presumption of public access to judicial records and documents.
27                                       Corporate Statement
28          If applicable, full compliance with Rule 7.1 of the Federal Rules of Civil Procedure


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 1   is required. A Corporate Disclosure Statement form is available on the District Court’s
 2   Website.
 3                                              Filings
 4          All electronic filings must be filed in a PDF text searchable format in accordance
 5   with LRCiv 7.1(c). A paper copy of any document filed exceeding ten (10) pages in length
 6   must be submitted to chambers. Documents which are too large for stapling must be
 7   submitted in a three-ring binder. Electronic copies of proposed orders must be emailed in
 8   Microsoft Word® format to Logan_Chambers@azd.uscourts.gov.
 9                                Communications with the Court
10          As a general matter, all communications with the Court regarding any case must be
11   made on the record. Telephone calls regarding routine administrative matters in civil cases
12   may be directed to chambers at (602) 322-7550. No member of chambers staff will provide
13   the parties with legal advice concerning any matter.
14          Any inquiry regarding the status of any motion or other matter that has been under
15   advisement for more than one hundred and eighty (180) days must be filed in the manner
16   set forth in LRCiv 7.2(n).
17                          Emergencies and Expedited Consideration
18          Any party desiring expedited consideration of a motion or other matter pending
19   before the Court may make such a request by filing a separate Notice for Expedited
20   Consideration which sets forth the grounds warranting accelerated resolution of the related
21   filing and identifies the dates of the imminent events pertinent to the request. Such requests
22   should not be made as a matter of course nor should be made by merely noting it below the
23   title of the related filing. Requests presented to the Court in this manner will not be
24   considered.
25                          Oral Arguments and Evidentiary Hearings
26          This Court does not have a preset schedule for setting oral arguments and
27   evidentiary hearings. The Court will schedule oral arguments and evidentiary hearings
28   when warranted and advise the parties accordingly. Any party desiring oral argument may


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 1   request it by noting it below the title of the related filing, see LRCiv 7.2(f); such request
 2   should be made in instances where it would assist the resolution of the motion, and not
 3   merely made as a matter of course. Any party desiring an evidentiary hearing should
 4   request it in the body of its filing. Separate motions or requests for oral argument or
 5   evidentiary hearings are subject to being stricken or may be modified on the docket to a
 6   notice.
 7                                          Noncompliance
 8             The parties are specifically admonished that failure to prosecute, to comply with
 9   court orders, or to comply with the local and federal rules may result in dismissal of all or
10   part of this case, default, imposition of sanctions, or summary disposition of matters
11   pending before the Court. See Fed. R. Civ. P. 41; LRCiv 7.2 (“[i]f a motion does not
12   conform in all substantial respects with the requirements of [the Local Rules], or if the
13   opposing party does not serve and file the required answering memoranda… such
14   noncompliance may be deemed a consent to the denial or granting of the motion and the
15   Court may dispose of the motion summarily”).
16             IT IS THEREFORE ORDERED:
17             1.    That Plaintiff(s) must file proof of service of the summons and complaint or
18   of waiver of service with the Clerk of Court no later than December 29, 2022;
19             2.    That Plaintiff(s) must promptly serve a copy of this Order on Defendant(s)
20   and file notice of service with the Clerk of Court; and
21             3.    That unless the Court orders otherwise, on December 29, 2022, the Clerk of
22   Court shall terminate without further notice any Defendant in this action that has not been
23   served pursuant to Rule 4(m) of the Federal Rules of Civil Procedure.
24             Dated this 30th day of September, 2022.
25
26                                                       Honorable Steven P. Logan
                                                         United States District Judge
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